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                EXHIBIT 3
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Contested Stanley Materials

1. Golden Valley Ranch Offsite Water Transmission Line Improvement Plans

2. 11 Acre Aztec Park Plans

3. Aztec Park Improvement Plans

4. Golden Valley Ranch 208 Plan Amendment

5. Golden Valley Ranch Design Standard Drawings that accompanied the Development Agreement.

6. East Loop Road Improvements

7. West Loop Road Improvements

8. Golden Valley Ranch Area 1, Area 2, Area 3, Area 5 and Area 6 Mass Grading Plans

9. Golden Valley Ranch Preliminary Plat for Pod 1

10. Golden Valley Ranch Preliminary Plat for Pod 2

11. Maps and Exhibits that accompanied CC&N application

12. Land Use Plan Revised Golden Valley Ranch, misc exhibits.
